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Manufacturing Company d/b/a
Tripp Lite

                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

CHARLES SINGLETARY,
                                                           Case No. 3:18-cv-09525-BRM-DEA
                                 Plaintiff,
                                                           Hon. Brian R. Martinotti, U.S.D.J.
                            v.                             Hon. Douglas E. Arpert, U.S.M.J.
TRIPPE MANUFACTURING CO.                                   CORPORATE DISCLOSURE
d/b/a TRIPP LITE,                                          STATEMENT
                                 Defendant.


        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Trippe Manufacturing Co. d/b/a

Tripp Lite (“Defendant” or “Tripp Lite”), by and through its attorneys, hereby states that Tripp

Lite is a privately held Illinois corporation. Tripp Lite has no parent corporation, and no publicly

held corporation owns 10% or more of its stock.




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Dated: August 17, 2018
                                  BLANK ROME LLP

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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on August 17, 2018, he caused the foregoing

Corporate Disclosure Statement to be electronically filed with the Clerk of the United States

District Court for the District of New Jersey using the Court’s ECF system, which shall send

notification of such filing to all counsel of record who have registered to receive notice via that

system.


                                                     /s/ Jason E. Reisman
                                                     Jason E. Reisman




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